 

: "SJSOO PUP 1SOJOIUI

SuIpNjoul ‘puog sy} JO JUNOW sI1JUS OY} JO} AJoANS YRS pue JUBPUSJOp OU} JsuIeSE oINoJJOJ Jo JuowSpnl ev Jopso Ae
LNOD dU} ‘soyeIS poyU) oY} Jo ysanbol 9y} 1V ‘JUUIDDISE OU} YIM A] duos Jou saOp JUBPUIJop OY} JI “‘PUOg OY} JOJ AYLINDOS
dy} SuIPNyout ‘say¥1G PoUL) 9Y} 0} poJopustINs puog oY} JO JUNOUTE oY} JOPsO Ajayeipowiunt ABUI LIND oY], “WUSWseISe
dA0QR dy} YUM A]AUIOS JOU SBOP JURPUSJOp 9Y} JI POojsOJ 9q Kew puog souvievodde siyf, puog ay) fo aANJLALAO

puog 9Y} JO IBI[IY 10 IANj}LIJ10F

 

 

 

‘(Ajains ayi Afijuapt puv j1 aqidasap Ao ‘puog ]10qg ay) fo Adoo bv yanyjv) AJOINS JUSATOS B YM puog [leq & (9) ( Ca )

‘PIODOI JO Poly 9q ABU JSaJO}UI PONIES dU} 199}01d 03 syuounsop ‘AyIodoid [eos Aq poiNdes sit puog SI} Ff]

 

 

((anjDA pun diyssaumo
fo fooad yanjjn puv — uv0] 40 ‘asp5j4OW ‘Ual] D SD YONS — 1 UO SUAID]O Suipnjour ‘Kj4adoad 4ayjo 40 Ysa ay) aqisasap)

Aysadoid 19y10 JO YSeO SUIMOTI[OJ SY} WaJsOJ 0} AJoINs YOVS PUB JUBPUSJOp 94} FO yuouIsaIse oy} (q) ( [7] )

 

JUNOD OY} YIM poysodap ysed ul * Sct)

 

 

“Aq poainses * ¢ JO puog poinsas ve sisiyy, (€) (()

 

 

00'000'SZ. - ¢ JO puog pasnoasun ue si sIyL (Z) ( KX)

puog soueziusoses yeuosiod e si siyy, (1) (CT )

puog jo odAL

‘QSRI[DY JO SUOIIPUOD SUINIS JOpIO OY} Ul YLOJ JOS SUOTIPUOD |] YM Ajduioo 0} ( CL] )
Jo Sasoduit ABU! INOS SY} IVY] BOUDJUDS B SAIS 0} JOPUSLINS O} “‘payOIAUod JI ( XI )
‘sSuipooooid 11n09 J0j Jeadde 0} ( KX] )
JVI | Jl poyoysoy oq ABU pUOg SIU} 1eY} 90138 JOULIN] | puv ‘ASD SIY} SJOPISUOD Jey} VINOD
Auv JO ‘INOS SITY} JO JapIO AIOASD MOT[OJ 0} 9AIBB “UBpUafep) GNVH)O NOSAW VS TAVHOIN ‘|

 

JUIWMIIIASY S JUBPUIJIG

 

GQNOd FAONVAVAdd Vv
( juppuafaqd
( GNVH)O NOSAW VS TAVHOIN
AOW-8S1-19-17:Z ‘ON 888s (
( “A
( BOLIOUIYY JO SaqeIS pou

BIUJOJIPED JO JLNSIC wayseq

oY} 10}

LYNOD LOMLSIG SALVLS GALINA

puog souvseoddy ({ 1/ZI ‘“APY) 86 OV
 

ajDp pud adénjousis — 4auMmo AjAadoud/(jaing aupu pajuldd — 4aumo Ajaadosd/Ajaang

 

 

ajpp puvd adénjousis — A4aumo Ajsadoud/(aing aupu pajuisd — 4auMmo AjA4adoud/Ajaang

 

 

ajDp puvd adnjousis — daumo AjAadoud/Maang awuipu pajuldd — 4aumo Ajsadoud/Ajaang

 

 

AANJOUBIS S, JuDpuafag

 

 

 

rr ae

COPL1 SO'S'N BZ 99S) “ON) SI UOIBULIOJUL SITY} wey} Ainfied Jo Ayeuod Japun arejsop — Ajoins yors puke — JURPUdJOp 9U} *]

‘puog souvievaddy siy} 0} 0188 [| “OW 0} poulR]dxo WIdY} pey JO 11NOD sy} Aq JOS BSBd]OI JO
SUOI]IPUOD SU} [|e Bal JOYyIIO SAY puv puog souBIeadde sIy} peo SAvY — AJOINS YOO puR — JURPUDJop oY} ‘| ‘aounJdadap

‘JOOJJO UI SI PUOG dOUBIROdde SIY} OTIYM

ONIVA S}I DONPd 0} SUIYJAUR OP JO ‘JI ISUIBSE SPRL 9qg O} SWITRID JOYyLIN MOTTe ‘AyIOdOJd oY} [JOS JOU [IM | (¢)
pue ‘dsAoqge paqiiosap se jddoxo ‘SuIIe]D 0} yOalqns jou sI AyIadoid oy) (Z)
(puog dy} UO papnyjoul aie puog souvseodde siy} Sutinses AjJOdo01d dy} JO SIOUMO [|e (1)

yey) Aunfied Jo Ayjeuod Jopun asejoap — Ajoins yoeo pue — jURpUdsop oy} ‘] “Apsadodg ay) fo diyssaumgc

SUOIPVABIIIG]

‘QOUdIUDS B SAIOS
0] SJJodol JUBpUdyop au} (7) 10 ‘saBivyo |]e uO AIINS JOU PUNOJ SI JUBPUDJop dy} (]) -JOYJIO UOYM poseRa]o1 9q [[IM AjLINDIS
dy) puke polysijes oq [JIM puog sIy]y, “ow Aue 1e popus puog souvseodde siy} Jopsio ABW NOD oY], puog ay] fo asvajay

puog souvseoddy (] 1/Z] ‘A2Y) 86 OV

TZ 360d
